                     IN THE SUPREME COURT OF NORTH CAROLINA

                                           2021-NCSC-44

                                             No. 24A20

                                        Filed 23 April 2021

     IN THE MATTER OF: A.W.



           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from orders entered on 19

     November 2019 by Judge Benjamin S. Hunter in District Court, Franklin County.

     This matter was calendared for argument in the Supreme Court on 19 March 2021

     but determined on the record and briefs without oral argument pursuant to Rule 30(f)

     of the North Carolina Rules of Appellate Procedure.


           Gena Walling McCray for petitioner-appellee Franklin County Department of
           Social Services.

           Matthew D. Wunsche for appellee Guardian ad Litem.

           Anné C. Wright for respondent-appellant mother.


           BERGER, Justice.

¶1         Respondent-mother appeals from the trial court’s order adjudicating her child

     A.W. (Abigail)1 a neglected and dependent juvenile and the trial court’s order

     terminating her parental rights in Abigail based on neglect and dependency. After

     careful review, we affirm the trial court’s orders.

                                           Background



           1 Pseudonyms are used to protect the identities of the juveniles and for ease of reading.
                                             IN RE A.W.

                                            2021-NCSC-44

                                          Opinion of the Court



¶2         In January 2017, A.M.W. (Anna)2 was born to respondents. In March 2017, the

     Franklin County Department of Social Services (DSS) received a Child Protective

     Services (CPS) report that Anna was admitted to the emergency room on 11 March

     2017 with significant, unexplained injuries. Anna suffered a severe traumatic brain

     injury, “bleeding around the brain, subdural hemorrhages, as well as some other fluid

     collections which [were] indicative of old hematomas[.]” In addition, she had fractured

     ribs in various stages of healing, a ruptured spleen, internal bleeding, and a fracture

     in one of her legs. Neither respondent provided an explanation that could account for

     Anna’s injuries. On 15 March 2017, Anna died as a result of blunt force injuries to

     her head. Her autopsy ruled her death a homicide.

¶3         Dr. Benjamin Alexander, an expert in pediatrics and pediatric abuse, treated

     Anna prior to her death and concluded as follows:

                  The pattern and nature of this unfortunate infant’s injuries
                  are characteristic of those seen in young infants who are
                  abused by adult caregivers. Injuries this severe are due to
                  very high forces such as might typically be seen in a high-
                  velocity motor vehicle accident, or a fall from a second story
                  window. This assortment of injuries does not occur due to
                  any disease or condition—they are obviously traumatic.
                  Without any history of trauma offered, it must be
                  concluded that this child was abused by an adult who is
                  concealing the truth.

                  The pattern of lateral rib fractures in conjunction with
                  subdural hematomas is typically seen in infants who have
                  been grasped around the chest and violently shaken. In

           2 Anna is not a subject of this appeal.
                                         IN RE A.W.

                                         2021-NCSC-44

                                      Opinion of the Court



                 addition, the bilateral skull fractures indicate that the
                 infant’s head was smashed against a hard object.

                 Rupture of the spleen, in the absence of rare infections or
                 malignancy (which this child does not have), is due to a
                 traumatic cause. The infant was most likely struck
                 forcefully in the upper abdomen or back to cause this
                 injury.

                 The metaphyseal fracture seen in the distal tibia is
                 typically associated with a forceful, violent twisting force
                 applied to the foot or lower leg.

                 Because the rib fractures and distal tibia fracture
                 demonstrate some early evidence of healing, which is not
                 normally seen before seven days after an injury and
                 therefore before the onset of neurologic symptoms
                 associated with the current head injury, I believe this child
                 was abused on multiple occasions. Also the presence of low-
                 density fluid collections, as would be seen with resorbing
                 blood, may also be an indicator of multiple episodes of
                 shaking.

¶4         In March 2018, Abigail was born to respondents. On 16 March 2018, DSS

     obtained nonsecure custody of Abigail and filed a petition alleging her to be a

     neglected and dependent juvenile. The petition alleged that Abigail was a neglected

     juvenile in that her sibling, Anna, died in the care of respondents as a result of

     suspected abuse and neglect. Respondents reported they were the only caregivers and

     gave no explanation for Anna’s injuries. Respondent-father was incarcerated on

     charges related to Anna’s death, and respondent-mother’s involvement in Anna’s

     death had not been ruled out. Because of the nature of Anna’s injuries and death,

     Abigail was at substantial risk of abuse and neglect if she remained in respondents’
                                           IN RE A.W.

                                          2021-NCSC-44

                                       Opinion of the Court



     care and supervision. The petition also alleged that respondents were unable to

     provide for Abigail’s care or supervision because of the aforementioned neglect and

     lacked an appropriate alternative childcare arrangement. DSS later amended the

     petition to add allegations that after Anna’s death, respondent-father reported that

     the family dog had caused Anna’s injuries. However, respondent-father’s account did

     not explain Anna’s injuries. In addition, respondent-mother remained in a

     relationship with respondent-father after Anna’s death, became pregnant with

     Abigail, and regularly visited respondent-father in jail.

¶5         On 29 August 2018, DSS filed a motion to terminate respondent-mother’s

     parental rights in Abigail. DSS alleged that respondent-mother had neglected

     Abigail, and there was no indication that she was willing or able to correct the

     conditions that lead to Anna’s death and the injurious environment that was present

     in her home, see N.C.G.S. § 7B-1111(a)(1) (2019), and respondent-mother was

     incapable of providing for the proper care and supervision of Abigail such that Abigail

     was a dependent juvenile, see N.C.G.S. § 7B-1111(a)(6) (2019).

¶6         Both the juvenile petition and motion to terminate respondent-mother’s

     parental rights in Abigail came on for hearing eight times between January and

     August 2019. On 19 November 2019, the trial court entered orders concluding that

     Abigail was a neglected and dependent juvenile and finding that any efforts toward

     reunification with respondent-mother would be unsuccessful and contrary to Abigail’s
                                           IN RE A.W.

                                          2021-NCSC-44

                                       Opinion of the Court



     health, safety, and need for a permanent home within a reasonable period of time.

     The trial court ordered that Abigail remain in the custody of DSS and set the primary

     permanent plan as adoption with a secondary plan of custody with a court approved

     caretaker. Also, on 19 November 2019, the trial court entered a separate order

     concluding that grounds existed to terminate respondent-mother’s parental rights in

     Abigail pursuant to N.C.G.S. § 7B-1111(a)(1) and (6). The trial court determined that

     it was in Abigail’s best interests that respondent-mother’s parental rights be

     terminated, and the court terminated her parental rights. See N.C.G.S. § 7B-1110(a)

     (2019).

¶7         On 13 December 2019, respondent-mother entered notice of appeal to the Court

     of Appeals of North Carolina from the 19 November 2019 adjudication and disposition

     orders and to this Court from the 19 November 2019 order terminating her parental

     rights. On 12 March 2020, respondent-mother filed a motion in this Court for

     consolidation of the actions on appeal and, alternatively, a petition for discretionary

     review of the adjudication and disposition orders. By order entered 18 March 2020,

     this Court allowed the motion for consolidation of the actions on appeal and dismissed

     as moot the petition for discretionary review.

                                           Analysis

¶8         On appeal, respondent-mother argues the trial court erred in adjudicating

     Abigail a neglected and dependent juvenile. She also argues that the trial court erred
                                             IN RE A.W.

                                            2021-NCSC-44

                                         Opinion of the Court



       in ceasing reunification efforts and failing to make reunification part of Abigail’s

       permanent plan. Respondent-mother further contends that the trial court erred by

       adjudicating grounds for termination of her parental rights based on neglect and

       dependency. We address each argument in turn.

                       I.     Adjudication of Neglect and Dependency

                                        Standard of Review

¶9                         We review a district court’s adjudication under
                    N.C.G.S. § 7B-1111(a) to determine whether the findings
                    are supported by clear, cogent and convincing evidence and
                    the findings support the conclusions of law. Unchallenged
                    findings of fact are deemed supported by competent
                    evidence and are binding on appeal. Moreover, we review
                    only those findings needed to sustain the trial court’s
                    adjudication. The issue of whether a trial court’s findings
                    of fact support its conclusions of law is reviewed de novo.
                    However, an adjudication of any single ground for
                    terminating a parent’s rights under N.C.G.S. § 7B-1111(a)
                    will suffice to support a termination order.

       In re J.S., 374 N.C. 811, 814–15, 845 S.E.2d 66, 70–71 (2020) (cleaned up).

                                      Adjudication of Neglect

¶ 10         A “neglected juvenile” is defined, in pertinent part, as a child

                    whose parent, guardian, custodian, or caretaker does not
                    provide proper care, supervision, or discipline; . . . or who
                    lives in an environment injurious to the juvenile’s
                    welfare[.] . . . In determining whether a juvenile is a
                    neglected juvenile, it is relevant whether that juvenile lives
                    in a home where another juvenile has died as a result of
                    suspected abuse or neglect[.]
                                             IN RE A.W.

                                            2021-NCSC-44

                                         Opinion of the Court



       N.C.G.S. § 7B-101(15) (2019). “In order to adjudicate a juvenile neglected, our courts

       have additionally required that there be some physical, mental, or emotional

       impairment of the juvenile or a substantial risk of such impairment as a consequence

       of the failure to provide proper care, supervision, or discipline.” In re Stumbo, 357

       N.C. 279, 283, 582 S.E.2d 255, 258 (2003) (cleaned up) (emphasis added).

¶ 11         Respondent-mother challenges several findings of fact as not being supported

       by the evidence. Respondent-mother contests the following portions of the trial court’s

       findings 17, 24, 28, 30, 34, and 36, which provide that she and respondent-father

       worked together to develop an explanation for Anna’s injuries:

                    17. On May 24, 2017, the respondent[s] offered to law
                    enforcement an explanation of [Anna’s] injuries that defies
                    all medical evidence, and it is clear to the Court that the
                    respondents worked together to develop the explanation.
                    Through video-taped statements and reenactments, the
                    respondent[s] indicated that [Anna’s] head injuries were
                    caused when the parents’ dog, a large Great Dane, jumped
                    on the respondent-father’s arm while he was holding
                    [Anna], causing him to lose his grip on [Anna]. [Anna]
                    started to fall, and although [respondent-father] caught
                    her before he fully dropped her, [Anna’s] head hit the tiled
                    floor in the kitchen. [Respondents] both stated that the
                    mother was asleep in the next room when this incident
                    occurred.

                    ....

                    24. During this trial, all three experts, including the
                    respondent-mother’s expert, Dr. Owens, reviewed the
                    reenactments and statements the parents provided to law
                    enforcement and the Department, and each confidently
                    concluded that the injuries that [Anna] sustained to her
                         IN RE A.W.

                        2021-NCSC-44

                     Opinion of the Court



head could not have been caused by the event described by
the parents. Each also confidently concluded that there
were still no explanations given for the leg fracture and the
left rib fractures showing signs of healing. All three experts
agreed that the skull fractures were similar to what you
might see from a severe automobile accident, a drop from a
second-story window or by something broad hitting or
crushing the baby’s skull. The parents presented no
evidence that offered a plausible explanation for the severe
head injuries. The parents presented no evidence that
offered any explanations for the injuries to the left ribs and
the leg which occurred 7 to 14 days before the head injuries.
Dr. Alexander and Dr. Douglas ruled out any medical
condition which would have accounted for the broken
bones. There was no evidence presented on medical
conditions that might account for the broken bones.

....

28. [Respondent-mother] presented evidence on July 10,
2019 of the hardness of the floor, pictures of the size of the
Great Dane compared to [the] size of [respondent-father],
and [respondent-mother] brought the dog to Court as
evidence of the dog’s size and disposition. [Respondent-
mother], throughout this trial, presented evidence that
[Anna] died because of the dog.

....

30. No explanation by either parent accounts for the
multiple injuries over time or the injuries that caused
[Anna]’s death. [Anna]’s death was caused by an act of one
or both of the respondents. From March 11, 2017 to May
24, 2017, the parents provided no explanation of what
happened to [Anna]. When the parents presented an
explanation on May 24, 2017, it defied all medical evidence
and it defied all reason. It is clear that the parents were
coordinating their statements. In March 2018, the father
altered his explanation in ways that he thought would
conform to the child’s injuries, but it did not explain the
injuries. The parents’ have remained unified in their
                        IN RE A.W.

                        2021-NCSC-44

                     Opinion of the Court



stance that their dog caused the head injury, and they still
have not provided an explanation for the other injuries.
The parents have been consistently unified in not revealing
to law enforcement, [DSS], or this Court, what happened to
[Anna].

....

34. There are other indications, in addition to [Anna]’s
death, that the environment is injurious. The mother
admitted taking Concerta and other prescription drugs
that were not prescribed to her, and neither the mother,
nor the mother’s close friend, believe that this was
concerning or inappropriate. The mother admitted
allowing a heroin addict to live with her while [respondent-
father] was incarcerated, and indicated that if he died of an
[overdose] while in her home, she would conceal the body
from law enforcement. The father indicated in
conversations with the mother that he was acquainted with
heroin use. The mother and father showed a willingness
and plan to deceive authorities in these proceedings.



....



36. Based upon the foregoing, aggravating factors exist
that prevent reunification with either parent in this matter
in that the juvenile’s sibling died in the home due to abuse,
and the mother and father have consistently worked
together to conceal what happened to [Anna]. This conduct
increases the enormity and adds to the consequences of the
neglect of [Abigail] because there is no means by which this
Court can address what caused the death of [Anna] and
thereby [e]nsure the safety of [Abigail].
                                            IN RE A.W.

                                           2021-NCSC-44

                                         Opinion of the Court



       Specifically, respondent-mother asserts that she did not and could not have offered

       an explanation of the events causing Anna’s injuries because she was asleep in

       another room at the time Anna was injured.

¶ 12         The foregoing portions of the challenged findings are supported by clear and

       convincing evidence in the record. In a 14 March 2017 interview with law

       enforcement, respondent-mother recounted her suggestion to a doctor who treated

       Anna that Anna’s injuries could have been caused by respondents’ large dog, a Great

       Dane. At the adjudicatory hearing, respondent-mother rejected the medical

       examiner’s conclusion in Anna’s autopsy report that her death was a homicide. She

       testified that she personally believed that respondent-father “was holding her wrong,

       and getting the bottle made, and he wasn’t holding her right, and holding her with

       his one arm, and she slipped out of his arms. That’s what I think.” Furthermore, she

       introduced a video of the tile floor in her house where Anna’s injuries allegedly

       occurred to demonstrate that it was “hard as a rock” and brought her Great Dane to

       the courthouse to demonstrate its size and that “accidents can happen.” This evidence

       provides ample support for the trial court’s determination that respondent-mother

       offered an explanation, one involving respondents’ Great Dane, for the source of

       Anna’s injuries. See In re D.L.W., 368 N.C. 835, 843, 788 S.E.2d 162, 167–68 (2016)

       (stating that it is the trial judge’s duty to consider all the evidence, pass upon the
                                             IN RE A.W.

                                            2021-NCSC-44

                                         Opinion of the Court



       credibility of the witnesses, and determine the reasonable inferences to be drawn

       therefrom).

¶ 13         In addition, the trial court’s findings that respondents coordinated their stories

       with one another in an attempt to conceal what really caused Anna’s injuries is

       supported by the evidence. During respondent-mother’s 14 March 2017 interview

       with law enforcement, she reported that after a doctor detailed the extent of Anna’s

       numerous injuries, she spoke with respondent-father:

                     And I’m like well how did it happen? And he’s like I don’t
                     know. I’m like can it be from our dog, you know. Like we
                     have – we have some dogs and our biggest dog’s a Great
                     Dane and he’s jumped on – jumped on the bed and has
                     cracked me in my nose to where I’d be screaming for
                     [respondent-father] to come in. And one time I wound up
                     bleeding but he never broke my nose.

       Considering respondents’ conversation, in light of the unchallenged findings that

       Anna was severely abused while she resided in respondents’ care and Dr. Alexander’s

       conclusion that Anna was abused by an “adult who is concealing the truth,” the trial

       court made the reasonable inference that respondents worked together to develop an

       explanation for Anna’s injuries in an attempt to conceal the truth.

¶ 14         Respondent-mother also contests the portion of finding of fact 27, which

       provides that “[t]he conversation between [respondents] in December 2018 showed

       an intent to collude to deceive this Court about their relationship and that they were

       coordinating their testimony for Court.” She argues that there is no evidence that she
                                              IN RE A.W.

                                             2021-NCSC-44

                                          Opinion of the Court



       was conspiring with respondent-father to provide false testimony. The record

       demonstrates otherwise. In a December 2018 conversation between respondents,

       respondent-mother informed respondent-father that she was “going to take off my

       ring for the trial” and explain that they are taking a “break to, you know, think about

       things and stuff[,]” and respondent-father accepted her plan. Yet, at the time of the

       termination hearing, respondent-mother admitted that respondents continued to be

       in a relationship. Thus, the challenged portion of the trial court’s finding of fact 27 is

       supported by clear and convincing evidence.

¶ 15         Respondent-mother argues that the trial court’s finding of fact 31, which

       provides that Abigail was “born into the same injurious environment that resulted in

       [Anna]’s death[,]” is not supported by clear and convincing evidence. Yet, the trial

       court’s unchallenged findings that no explanation by either parent accounted for

       Anna’s injuries, Anna’s death was caused by an act by one or both respondents,

       respondents were still together and planned to remain together, and Abigail’s

       proposed caregivers would not protect her or follow a safety plan for Abigail support

       the trial court’s finding that Abigail was born into the same injurious environment

       as Anna.

¶ 16         Respondent-mother challenges the portions of finding of fact 34 in which the

       trial court found that there were other factors besides Anna’s death that indicated

       the existence of an injurious environment, namely respondent-mother’s use of non-
                                             IN RE A.W.

                                            2021-NCSC-44

                                          Opinion of the Court



       prescribed drugs, and allowing a heroin addict to live in the home while respondent-

       father was incarcerated. Respondent-mother contends that she only took Concerta

       twice to help her study and that she had only taken Gabapentin twice. She argues

       that there was no evidence that she was caring for Anna or Abigail at the times when

       she took these drugs and that her use of these drugs was not sufficient in and of itself

       to support an adjudication of neglect. She also argues that allowing a friend of

       respondent-father to live with her for a month does not show that her home was an

       injurious environment for Abigail. Because, as we detail below, the contested portions

       of finding of fact 34 relating to respondent-mother’s drug use and allowing a heroin

       addict to live in her home are not necessary to support the trial court’s adjudication

       of neglect, we decline to review respondent-mother’s challenges. In re T.N.H., 372

       N.C. 403, 407, 831 S.E.2d 54, 58–59 (2019) (“[W]e review only those findings

       necessary to support the trial court’s determination that grounds existed to terminate

       respondent’s parental rights.” (citing In re Moore, 306 N.C. 394, 404, 293 S.E.2d 132,

       133 (1982)).

¶ 17         Next, respondent-mother argues that the trial court’s findings of fact do not

       support its adjudication that Abigail was a neglected juvenile. She contends that

       Abigail was not at substantial risk of impairment living in a home with respondent-

       mother. We are not convinced.

¶ 18         This Court has held that
                                             IN RE A.W.

                                            2021-NCSC-44

                                          Opinion of the Court



                    [a] court may not adjudicate a juvenile neglected solely
                    based upon previous [DSS] involvement relating to other
                    children. Rather, in concluding that a juvenile “lives in an
                    environment injurious to the juvenile’s welfare,” N.C.G.S.
                    § 7B-101(15), the clear and convincing evidence in the
                    record must show current circumstances that present a
                    risk to the juvenile.

       In re J.A.M., 372 N.C. 1, 9, 822 S.E.2d 693, 698 (2019). “In neglect cases involving

       newborns, ‘the decision of the trial court must of necessity be predictive in nature, as

       the trial court must assess whether there is a substantial risk of future abuse or

       neglect of a child based on the historical facts of the case.’ ” Id. at 9, 822 S.E.2d at

       698–99 (citation omitted).

¶ 19         Here, although the trial court considered the fact that Abigail lived in the same

       home where Anna died as a result of an act of one or both respondents, this was not

       the sole basis for the trial court’s conclusion that Abigail was a neglected juvenile.

       Rather, the trial court also found the presence of other factors demonstrating that

       Abigail presently faced a substantial risk in her living environment: respondent-

       mother continued to provide the implausible explanation that her dog caused Anna’s

       head injury; respondent-mother failed to provide an explanation that accounted for

       Anna’s other injuries; there were no means by which the court could determine what

       caused Anna’s death and “thereby insure the safety of [Abigail]”; respondent-mother

       continued to be in a relationship with respondent-father; and respondents colluded

       to deceive the court about the status of their relationship. In conjunction with the fact
                                            IN RE A.W.

                                           2021-NCSC-44

                                         Opinion of the Court



       that Anna died in the home at the hands of one or both respondents, the findings of

       respondent-mother’s ongoing failure to recognize and accept the cause of Anna’s

       injuries and resulting death, and her continued relationship with respondent-father,

       establish that respondent-mother was unable to ensure Abigail’s safety and that

       Abigail was at a substantial risk of impairment. Respondent-mother did not remedy

       the injurious environment that existed for Anna, and the trial court properly

       concluded that Abigail was a neglected juvenile.

                                   Adjudication of Dependency

¶ 20         A “dependent juvenile” is defined as a juvenile “in need of assistance or

       placement because (i) the juvenile has no parent, guardian, or custodian responsible

       for the juvenile’s care or supervision or (ii) the juvenile’s parent, guardian, or

       custodian is unable to provide for the juvenile’s care or supervision and lacks an

       appropriate alternative child care arrangement.” N.C.G.S. § 7B-101(9) (2019). “In

       determining whether a juvenile is dependent, ‘the trial court must address both (1)

       the parent’s ability to provide care or supervision, and (2) the availability to the

       parent of alternative child care arrangements.’ ” In re K.D.C., 375 N.C. 784, 795, 850

       S.E.2d 911, 920 (2020) (quoting In re B.M., 183 N.C. App. 84, 90, 643 S.E.2d 644, 648
       (2007)).

¶ 21         First, respondent-mother challenges the portion of finding of fact 24, which

       states that “all three experts, including the respondent-mother’s expert, Dr. Owens,
                                              IN RE A.W.

                                             2021-NCSC-44

                                          Opinion of the Court



       reviewed the reenactments and statements the parents provided to law enforcement

       and [DSS], and each confidently concluded that the injuries that [Anna] sustained to

       her head could not have been caused by the events described by [respondents].” She

       argues that Dr. Owens testified that while the explanation provided by respondent-

       father was unlikely to have caused Anna’s injuries, it was not impossible. Dr. Owens,

       a forensic pathologist initially testified that the explanation that respondents’ dog

       jumped on respondent-father and caused Anna’s head to hit the floor was “not likely”

       to explain the fractures to Anna’s head. However, Dr. Owens subsequently explained

       that the force of Anna’s head hitting the floor while respondent-father was holding

       her did not explain the head fractures she sustained. Dr. Owens also testified that

       “[i]t would require a more accelerated force or a fall from a greater height[.]” Thus,

       the trial court’s finding of fact 24 is supported by the evidence. See In re B.O.A., 372

       N.C. 372, 379, 831 S.E.2d 305, 310 (2019) (stating that “[a] trial court’s finding of fact

       that is supported by clear, cogent, and convincing evidence is deemed conclusive even

       if the record contains evidence that would support a contrary finding.”).

¶ 22         Respondent-mother also contends that finding of fact 33 is not supported by

       the evidence. This finding provides as follows:

                    33. Despite the clear medical evidence presented that
                    [Anna] died of non-accidental means and that no
                    explanation given by either parent matches the injuries, all
                    potential caregivers identified by the parents assert that
                    [Anna] died by accidental means. Not one of them believed
                    that [Anna] was abused. Each family member and friend
                                              IN RE A.W.

                                             2021-NCSC-44

                                          Opinion of the Court



                    believed and testified that [Anna] died from an accident,
                    even after being presented with clear and convincing
                    medical evidence that contradicted their belief. One
                    caregiver summarized the overall attitude of all of the
                    parents’ family and friends when he said, “If [respondent-
                    mother] said it, I believe it.” Based upon their testimonies,
                    it is clear that the proposed caregivers would not protect
                    [Abigail] and would not follow a safety plan for [Abigail.]”

¶ 23         Four individuals, including Abigail’s paternal uncle and three of respondents’

       friends, testified during the adjudicatory phase of the hearing. The paternal uncle

       testified that he did not believe respondent-father “murder[ed Anna] intentionally.”

       Two of respondents’ friends testified that they believed Anna’s injuries were

       accidental. A fourth individual testified that she believed respondents’ explanation of

       the cause of Anna’s injuries “could have been true” and “the story kind of made sense.”

       Because none of these individuals believed Anna had been abused, the trial court

       reasonably inferred that they would not follow a safety plan for Abigail. Accordingly,

       the trial court’s finding of fact 33 is supported by the evidence.

¶ 24         Respondent-mother also challenges that the following portion of the trial

       court’s finding of fact 35: “There is no protective parent and no protective relative or

       kinship provider that could provide a safe home for [Abigail].” Specifically,

       respondent-mother argues that any of the potential placements would provide a home

       where respondent-father would not be present. This argument, however, disregards

       an important aspect of why the trial court reasoned no protective relative or kinship

       provider could provide a safe home for Abigail – the fact that no potential caregivers
                                            IN RE A.W.

                                            2021-NCSC-44

                                         Opinion of the Court



       identified by respondents believed that Anna had been abused. The trial court

       reasonably inferred from the evidence that the potential caregivers’ failure to

       acknowledge the intentional nature of Anna’s injuries and death would impede their

       ability to provide a safe environment for Abigail.

¶ 25         Next, respondent-mother argues that the trial court erred by adjudicating

       Abigail a dependent juvenile because she was able to care for Abigail herself, and

       alternatively, if respondent-mother could not provide care, Abigail was not dependent

       because she provided appropriate alternative child care options. Her arguments are

       unpersuasive.

¶ 26         Here, the trial court reasonably found that respondent-mother was unable to

       properly care for and supervise Abigail because Anna died in the home due to abuse,

       and respondents worked together to conceal what happened to Anna. Thus, there was

       “no means by which this Court can address what caused the death of [Anna] and

       thereby [e]nsure the safety of [Abigail].” Moreover, respondent-mother planned to

       remain in a romantic relationship with respondent-father while he was in jail on

       charges related to Anna’s death. As previously discussed, the trial court also made

       findings, which were supported by the evidence or reasonable inferences drawn from

       the evidence, that the potential caregivers respondents offered were inappropriate

       because none of them believed that Anna was abused, that they would not protect
                                             IN RE A.W.

                                             2021-NCSC-44

                                         Opinion of the Court



       Abigail, and that they would not follow a safety plan for Abigail. These findings

       support the trial court’s conclusion that Abigail was a dependent juvenile.

                                       II.    Reunification

¶ 27         Respondent-mother argues that the trial court erred in ceasing reunification

       efforts with her and failing to make reunification part of Abigail’s permanency plan.

       Her arguments are meritless.

¶ 28         “When a petition for termination of parental rights is filed in the same district

       in which there is pending an abuse, neglect, or dependency proceeding involving the

       same juvenile, the court on its own motion or motion of a party may consolidate the

       action pursuant to G.S. 1A-1, Rule 42.” N.C.G.S. § 7B-1102(c) (2019). Under Rule 42,

       “when actions involving a common question of law or fact are pending in one division

       of the court, the judge may order a joint hearing or trial of any or all the matters in

       issue in the actions[.]” N.C.G.S. § 1A-1, Rule 42(a) (2019). Here, the juvenile neglect

       and dependency proceeding was pending when the motion to terminate respondent-

       mother’s parental rights was filed. See In re R.B.B., 187 N.C. App. 639, 644, 654

       S.E.2d 514, 518, disc. review denied, 362 N.C. 235, 659 S.E.2d 738 (2007) (stating that

       “the juvenile code presents no obstacle to simultaneous hearings on an abuse, neglect,

       and dependency petition and a termination of parental rights petition.”).

¶ 29         First, respondent-mother argues that she had no notice that the permanent

       plan would be one of the subjects of the consolidated adjudication and disposition and
                                             IN RE A.W.

                                            2021-NCSC-44

                                         Opinion of the Court



       termination of parental rights hearing. Yet, the record confirms that in a “Statutory

       Notice and Motion for Termination of Parental Rights”, filed 29 August 2018 and sent

       to respondent-mother, she was notified that DSS was recommending the permanent

       plan be adoption. We also agree with the guardian ad litem that in a hearing where

       a parents’ rights in their child are subject to termination, the parent has necessarily

       been informed that the child’s permanent plan is at issue.

¶ 30         Next, respondent-mother argues that the trial court erred in ceasing

       reunification efforts and failing to make sufficient findings to support removing

       reunification from the permanent plan. N.C.G.S. § 7B-901(c) provides that

                    (c) If the disposition order places a juvenile in the custody
                    of a county department of social services, the court shall
                    direct that reasonable efforts for reunification as defined in
                    G.S. 7B-101 shall not be required if the court makes
                    written findings of fact pertaining to any of the following,
                    unless the court concludes that there is compelling
                    evidence warranting continued reunification efforts:

                           (1) A court of competent jurisdiction determines or
                           has determined that aggravated circumstances exist
                           because the parent has committed or encouraged the
                           commission of, or allowed the continuation of, any of
                           the following upon the juvenile:

                           ....

                                  f. Any other act, practice, or conduct that
                                  increased the enormity or added to the
                                  injurious consequences of the abuse or
                                  neglect.

       N.C.G.S. § 7B-901(c)(1) (2019).
                                            IN RE A.W.

                                           2021-NCSC-44

                                         Opinion of the Court



¶ 31         Here, the trial court made the following findings in its disposition order:

                   3. Based upon the evidence presented in the adjudication
                   phase of this case and the additional evidence presented in
                   the disposition phase of this case, aggravating factors exist
                   that prevent reunification with either parent in this matter
                   in that [Abigail’s] sibling died in the home due to abuse,
                   and the mother and father have consistently worked
                   together to conceal what happened to [Anna]. This conduct
                   increases the enormity and adds to the consequences of the
                   neglect of [Abigail] because there is no means by which this
                   Court can address what caused the death of [Anna] and
                   thereby [e]nsure the safety of [Abigail].

                   4. Any effort to reunify the parents with this juvenile would
                   be clearly unsuccessful and inconsistent with the juvenile’s
                   health and safety and need for a safe, permanent home
                   within a reasonable period of time.

¶ 32         Respondent-mother challenges finding of fact 3. She does not contest the

       finding that Anna died in the home due to abuse. Rather, she argues that there was

       no evidence presented that she worked with respondent-father to conceal what

       happened to Anna. As previously discussed, however, there is sufficient evidence in

       the record that respondents continued to provide an implausible explanation for

       Anna’s injuries and death and worked together to conceal the truth. Under these

       circumstances—respondent-mother’s failure to acknowledge that Anna died due to

       abuse, her involvement with respondent-father to conceal the truth, and her

       continuing romantic relationship with respondent-father —the trial court’s finding

       that respondent-mother’s conduct increased the enormity and added to the

       consequences of neglect is supported by the evidence. Therefore, the trial court
                                             IN RE A.W.

                                            2021-NCSC-44

                                          Opinion of the Court



       properly determined that reasonable efforts for reunification would be unsuccessful

       and inconsistent with Abigail’s welfare.

¶ 33         Lastly, respondent-mother reiterates many of her prior arguments that the

       trial court should have placed Abigail in a kinship or nonrelative kinship placement.

       As previously discussed, however, the trial court appropriately declined to place

       Abigail in respondents’ proposed alternative placements because not one of them

       believed Anna had been abused, and the trial court reasonably inferred that their

       failure to acknowledge the intentional nature of Anna’s injuries and death would

       hinder their ability to provide a safe environment for Abigail.

                                III.   Grounds for Termination

¶ 34         Respondent-mother argues that the trial court erred by adjudicating that

       grounds existed to terminate her parental rights. “Our Juvenile Code provides for a

       two-step process for termination of parental rights proceedings consisting of an

       adjudicatory stage and a dispositional stage.” In re Z.A.M., 374 N.C. 88, 94, 839

       S.E.2d 792, 796–97 (2000) (citing N.C.G.S. §§ 7B-1109, 1110 (2019)). “At the

       adjudicatory stage, the petitioner bears the burden of proving by ‘clear, cogent, and

       convincing evidence’ the existence of one or more grounds for termination under

       section 7B-1111(a) of the General Statutes.” In re A.U.D. 373 N.C. 3, 5–6, 832 S.E.2d

       698, 700 (2019) (quoting N.C.G.S. § 7B-1109(f) (2019)). “A trial court’s finding of fact

       that is supported by clear, cogent, and convincing evidence is deemed conclusive even
                                             IN RE A.W.

                                            2021-NCSC-44

                                         Opinion of the Court



       if the record contains evidence that would support a contrary finding.” In re B.O.A.,

       372 N.C. at 379, 831 S.E.2d at 310. Unchallenged findings are deemed to be supported

       by the evidence and are binding on appeal. In re Z.L.W., 372 N.C. 432, 437, 831 S.E.2d

       62, 65 (2019). “The trial court’s conclusions of law are reviewable de novo on appeal.”

       In re C.B.C., 373 N.C. 16, 19, 832 S.E.2d 692, 695 (2019).

¶ 35         Here, the trial court determined that grounds existed to terminate respondent-

       mother’s parental rights based on neglect and dependency. N.C.G.S. § 7B-1111(a)(1),

       (6) (2019). Because “an adjudication of any single ground for terminating a parent’s

       rights under N.C.G.S. § 7B-1111(a) will suffice to support a termination order,” we

       need only examine whether grounds existed to terminate respondent-mother’s

       parental rights pursuant to N.C.G.S. § 7B-1111(a)(1). In re J.S., 374 N.C. at 814–15,

       845 S.E.2d at 70–71.

                                              Neglect

¶ 36         A trial court may terminate parental rights if it concludes the parent has

       neglected the juvenile within the meaning of N.C.G.S. § 7B-101. N.C.G.S. § 7B-

       1111(a)(1) (2019). In certain circumstances, the trial court may terminate a parent’s

       rights based on neglect that is currently occurring at the time of the termination

       hearing. See, e.g., In re K.C.T., 375 N.C. 592, 599–600, 850 S.E.2d 330, 336 (2020)

       (“[T]his Court has recognized that the neglect ground can support termination . . . if

       a parent is presently neglecting their child by abandonment.”). However, for other
                                       IN RE A.W.

                                      2021-NCSC-44

                                    Opinion of the Court



forms of neglect, the fact that “a child has not been in the custody of the parent for a

significant period of time prior to the termination hearing” would make “requiring

the petitioner in such circumstances to show that the child is currently neglected by

the parent . . . impossible.” In re N.D.A., 373 N.C. 71, 80, 833 S.E.2d 768, 775 (2019)

(cleaned up). In this situation, “evidence of neglect by a parent prior to losing custody

of a child—including an adjudication of such neglect—is admissible in subsequent

proceedings to terminate parental rights[,]” but “[t]he trial court must also consider

any evidence of changed conditions in light of the evidence of prior neglect and the

probability of a repetition of neglect.” In re Ballard, 311 N.C. 708, 715, 319 S.E.2d

227, 231 (1984); see also N.C.G.S. § 7B-101(15) (“In determining whether a juvenile

is a neglected juvenile, it is relevant whether that juvenile lives in a home where

another juvenile has died as a result of suspected abuse or neglect[.]”). After weighing

this evidence, the court may find the neglect ground if it concludes the evidence

demonstrates “a likelihood of future neglect by the parent.” In re R.L.D., 375 N.C.

838, 841, 851 S.E.2d 17, 20 (2020). Thus, even in the absence of current neglect, the

trial court may adjudicate neglect as a ground for termination based upon its

consideration of any evidence of past neglect and its determination that there is a

likelihood of future neglect if the child is returned to the parent. Id. at 838, 851 S.E.2d

at 20 n.3.
                                             IN RE A.W.

                                            2021-NCSC-44

                                          Opinion of the Court



¶ 37         In the present case, Abigail was not in respondent-mother’s physical custody

       at the time of the termination hearing which began on 31 January 2019. DSS

       obtained nonsecure custody of Abigail on 16 March 2018, shortly after her birth. In

       terminating respondent-mother’s parental rights, the trial court relied upon: the

       abuse and neglect of Anna while in respondents’ care; respondent-mother’s failure to

       provide a plausible explanation for Anna’s injuries; respondents’ coordination of their

       statements explaining Anna’s injuries and their combined actions in concealing the

       truth about what happened to Anna; and respondent-mother’s continued romantic

       relationship with respondent-father and her intent to deceive the court about their

       relationship. The trial court found that Anna’s death in respondents’ home and

       respondents’ joint concealment of what caused Anna’s injuries and death “increases

       the enormity and adds to the consequences of the neglect of [Abigail] because there

       is no means by which this Court can address what caused the death of [Anna] and

       thereby [e]nsure the safety of [Abigail].” The trial court further found that any efforts

       to reunify respondents with Abigail would be unsuccessful and inconsistent with

       Abigail’s health, safety, and need for a safe, permanent home within a reasonable

       time, and found that there was a probability of abuse or a repetition of neglect in

       respondents’ home. The trial court concluded that respondent-mother had neglected

       Abigail in that she created an environment injurious to Abigail’s welfare and “there

       is no indication or evidence that the mother is willing or able to correct the
                                             IN RE A.W.

                                            2021-NCSC-44

                                          Opinion of the Court



       circumstances that lead to the death of [Anna] and the injurious environment of the

       juvenile.”

¶ 38         Respondent-mother challenges multiple findings of fact made by the trial court

       as not being supported by the evidence. The trial court’s findings of fact 7 through 40

       in its termination order, however, are identical to the trial court’s findings of fact 5

       through 38 in its order adjudicating Abigail a neglected and dependent juvenile, and

       respondent-mother reasserts challenges to the same findings of fact that we have

       already addressed above.

¶ 39         Respondent-mother next argues that the findings of fact do not adequately

       support the trial court’s conclusion that grounds had been proven to terminate her

       parental rights based on neglect. She asserts that the present case is distinguishable

       from In re D.W.P., 373 N.C. 327, 838 S.E.2d 396 (2020).

¶ 40         In In re D.W.P., this Court affirmed an order terminating a mother’s parental

       rights on the basis of neglect. The mother’s eleven-month-old son was treated for a

       broken femur and had numerous other factures that were in the process of healing.

       The mother attributed his fractured femur to the family’s seventy-pound dog and

       suggested the children’s biological father had inflicted the older injuries. Id. at 328,

       838 S.E.2d at 399. Based upon the boy’s young age and multiple fractures for which

       the mother and her fiancé could provide no plausible explanation, the Guilford

       County Department of Health and Human Services (GCDHHS) filed a petition and
                                             IN RE A.W.

                                            2021-NCSC-44

                                          Opinion of the Court



       obtained nonsecure custody of both children. Id. at 328, 838 S.E.2d at 399. The trial

       court terminated the mother’s parental rights, concluding that “her neglect

       continued, and . . . she was likely to neglect the children in the future.” Id. at 329,

       838 S.E.2d at 400. The trial court focused on the mother’s refusal to honestly report

       how her son’s injuries occurred and believed GCDHHS was unable to provide a plan

       to ensure that injuries would not occur in the future without knowing the cause of

       the injuries. Id. at 329, 838 S.E.2d at 400.

¶ 41         In affirming the trial court’s conclusion that neglect was likely to reoccur if the

       children were returned to the mother’s care, this Court noted in D.W.P. the

       troublesome nature of the mother’s “continued failure to acknowledge the likely cause

       of [her son’s] injuries.” Id. at 339, 838 S.E.2d at 406. This Court also noted that

       despite the mother’s recognition that her fiancé could have caused her son’s injuries,

       she re-established a relationship with him that resulted in domestic violence and

       “refuse[d] to make a realistic attempt to understand how [her son] was injured or to

       acknowledge how her relationships affect her children’s wellbeing.” Id. at 340, 838

       S.E.2d at 406.

¶ 42         Respondent-mother contends that respondent-father is incarcerated and does

       not pose a threat; that the historic injuries suffered by the son in In re D.W.P. were

       more extensive than those suffered by Anna; that respondent-mother was not

       criminally charged in relation to Anna’s injuries like the mother in In re D.W.P.; and
                                            IN RE A.W.

                                           2021-NCSC-44

                                         Opinion of the Court



       that respondent-mother recognized that the respondent-father must not be allowed

       back in the home with Abigail.

¶ 43         Here, as in In re D.W.P., respondent-mother failed to acknowledge the

       intentional nature of Anna’s injuries, never provided a plausible explanation for

       Anna’s injuries and resulting death, and continued to be in a romantic relationship

       with respondent-father with the intentions to remain together. In addition, DSS

       could not provide a plan to ensure that injuries would not occur in the future without

       respondent-mother’s acknowledgement that Anna’s death was not accidental.

       Accordingly, the trial court’s conclusion, that neglect was likely to reoccur because

       there was no indication respondent-mother was willing or able to correct the

       circumstances that led to Anna’s death or Abigail’s injurious environment, is

       supported by the evidence and findings of fact.

¶ 44         Because the evidence supports the findings of fact and the findings of fact

       support at least one ground for termination of respondent-mother’s parental rights,

       we need not address termination of respondent-mother’s parental rights based on

       dependency. In re B.O.A., 372 N.C. at 380, 831 S.E.2d at 311. Furthermore,

       respondent-mother does not contest the trial court’s dispositional determination that

       it was in Abigail’s best interests to terminate her parental rights. The trial court’s

       order terminating respondent-mother’s parental rights in Abigail is affirmed.

             AFFIRMED.
